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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND

                                         )
  JUDITH A. SISTI,                       )
      Plaintiff,                         )
                                         )
       v.                                )
                                         )
                                                  C.A. No. 17·005-JJM·LDA
 FEDERAL HOUSING FINANCE                 )
 AGENCY, FEDERAL HOME LOAN               )
 "MORTGAGE CORPORATION, and              )
 NATIONSTAR MORTGAGE, LLC,               )
     Defendants.                         )
 --------------~)
                                         )
 CYNTHIA BOSS,                           )
     Plaintiff,                          )
                                         )
       v.                                )
                                         )        C.A. No. 17-042-JJM-LDA
 FEDERAL HOUSING FINANCE                 )
 AGENCY and FEDERAL NATIONAL             )
 MORTGAGE ASSOCIATION,                   )
     Defendants.                         )
 _________________________ )
                          MEMORANDUM AND ORDER

 JOHN J. MCCONNELL, JR., United States District Judge.

       'fhe Plaintiffs in these cases seek a ruling that Defendants Federal Housing

 Finance Agency ("FHFA"), Federal National Mortgage Association ("Fannie Mae"),

 and Federal Home Loan Mortgage Corporation ("Freddie rviac") are government

 actors, and thus, violated the Plaintiffs' Fifth Amendment due process rights when

 they conducted non-judicial foreclosures on the Plaintiffs' homes. The Defendants

 have moved for judgment on the pleadings. For the following reasons, their motions

 are DENIED.
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  I.    BACKGROUND

        Because the Defendants have moved for judgment on the pleadings, the Court

  accepts as true the well-pleaded facts from the Amended Complaints and draws all

  reasonable inferences in the Plaintiffs' favor. Doe v. Brown Univ., --- F.3d ----, 2018

 WL 3454469, at *1 (1st Cir. July 18, 2018).

        A.       Fannie Mae, Freddie Mac, and FHFA

        During the subprime mortgage crisis, Congress passed the Housing and

 Economic Recovery Act of 2008 ("HERA"), 12 U.S.C. § 4501 et seq., creating FHFA

 and empowering it to supervise and regulate Fannie Mae and Freddie :Mac

 (collectively, the "government-sponsored enterprises" or "GSEs").          HERA also

 empowered FHFA to place the GSEs into conservatorship or receivership "for the

 purpose of reorganizing, rehabilitating, or winding up the affairs" of the GSEs. 12

 U.S.C. § 4617(a)(2). FHFA's director exercised this power in the fall of 2008 and

 placed the GSEs into conservatorship.

        While acting as conservator, FHFA controls all of the rights, titles, powers, and

 privileges of the shareholders and boards of directors of the GSEs. FHFA elects the

 entirety of both boards of directors; the shareholders do not. FHFA also determines

 the boards' size and scope of authority.

        FHFA controls the business activities of the GSEs, and manages them to serve

 public ends. It does not manage the GSEs to maximize profitability or shareholder

 returns.    FHFA prohibits the GSEs from paying any dividends to their common

 shareholders.




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           There is no date certain for when the conservatorship will end, nor will it end

  upon the completion or attainment of predetermined criteria.           Instead, FHFA's

  director has total authority and discretion over whether its control of the GSEs will

  end. I

           Presently, the United States government owns all of the senior preferred stock

 of the GSEs; this stock is senior in right for both dividends and liquidation to all other

  preferred or common stock. The government also has warrants to purchase 79.9% of

 the GSEs' common stock. The GSEs cannot issue new shares, declare dividends, or

 dispose of assets without approval of the U.S. Treasury. In exchange, Fannie Mae

 has received some $116 billion from the Treasury to maintain liquidity; Freddie Mac

 has received some $71 billion.

           Both GSEs have paid more dividends into the Treasury than they received in

 the bailout: Fannie IVIae has paid approximately $151 billion and Freddie .Mac has

 paid approximately $98 billion. However, under the senior preferred stock purchase

 agreement, these dividend payments do not reduce the government's ownership

 interest in the GSEs. The Congressional Budget Office considers payments from the

 GSEs into the Treasury to be "intragovernmental payments."

           The GSEs cannot redeem the senior preferred stock prior to the termination of

 the government's funding commitment; that will not occur until all of the GSEs'

 liabilities have been satisfied.



        1 The director of FHFA can either issue an order terminating the
 conservatorship, or can appoint FHFA receiver of the GSEs. If the latter action is
 taken, the conservatorship ends, but FHFA would maintain control as receiver.

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        After appointing itself conservator of the GSEs, FHFA created the Servicer

  Alignment Initiative ("SAl"), which directs actions taken by the GSEs' mortgage

  servicers when servicing a delinquent mortgage. The SAl requires servicers of GSE-

  owned mortgages to follow specific timelines for processing foreclosures. The SAl

  directed the GSEs' servicers to use non-judicial foreclosure procedures when

 foreclosing in Rhode Island.

        B.    The Plaintiffs

        Jtldith Sisti owned real property in North Providence, Rhode Island, subject to

 a mortgage. In 1\IIay of 2012, Ms. Sisti became delinquent on her mortgage payments.

 Four years later, Defendant Nationstar 1\tiortgage, LLC, 2 as agent for Freddie Mac,

 conducted a foreclosure sale on lVIs. Sisti's property. Freddie Mac made the highest

 bid, and Nationstar signed and recorded a foreclosure deed. This was a non-judicial

 foreclosure: none of the Defendants IH'ovided JVIs. Sisti the opportunity to have an

 evidentiary hearing, to confront or cross-examine witnesses, to present arguments

 and evidence, to be represented by counsel, or to have a neutral hearing officer

 adjudicate the matter.    Following the foreclosure, Freddie Mac sought to evict

 Ms. Sisti.

       Cynthia Boss owned real property in Woonsocket, Rhode Island, subject to a

 mortgage held by Santander Bank.3        Santander Bank assigned its interest in



       2 Nationstar has not moved for judgment on the pleadings nor made any other
 dispositive motion in 1\tis. Sisti's case.

       3Santander was named a Defendant in Ms. Boss' case; however, the bank was
 previously dismissed by stipulation.


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  Ms. Boss's mortgage to Fannie Mae in 2014. In JVIarch of 2016, Fannie 1VIae conducted

  a foreclosure sale on lVIs. Boss's property in which Fannie Mae made the highest bid.

  Following the sale, Fannie Mae and Santander signed and recorded a foreclosure

  deed. Just like 1Vls. Sisti, lVIs. Boss did not have the opportunity to be heard, confront

 and cross witnesses, present arguments and evidence, have counsel, or have a neutral

 decisionmaker during her foreclosure proceedings. Fannie Mae has sued in state

 court to evict JVIs. Boss.

        Seeking to prevent their evictions, Ms. Sisti sued FHFA, Freddie Mac, and

  Nationstm·; I'vls. Boss sued FHFA, Fannie Mae, and Santander. Plaintiffs allege that

 FHFA, Fannie Mae, and Freddie Mac are government entities, and as such, that they

 deprived the Plaintiffs of due process by conducting non-judicial foreclosures. FHFA,

 Fannie Mae, and Freddie JVIac have moved for judgment on the pleadings. Because

 these cases present the same legal issues, the Court consolidated them for oral

 argument and disposition of the motions:1

 II.    STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(c) allows a party to move for judgment on

 the pleadings.    "A motion for judgment on the pleadings bears a strong family

 resemblance to a motion to dismiss under Federal Rule of Civil Procedure 12(b)(G),

 and these two types of motions are treated in much the same way." IL:,wdo v. R.l




       "In addition, both Plaintiffs are represented by the same attorney, and FHFA,
 Fannie IVIae, and Freddie lVIac are represented by the same counsel. 'rhe briefs filed
 in both cases are nearly identical. For purposes of this motion, the only difference is
 that Ms. Sisti has sued Freddie Mac whereas Ms. Boss has sued Fannie Mae.

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  State Ed. of Elections, 880 F.3cl 53, 58 (1st Cir. 2018). "[A] 'court may not grant a

  defendant's Rule 12(c) motion "unless it appears beyond doubt that the plaintiff can

  prove no set of facts in support of his claim which would entitle him to relief."'" Curran

  v. Cousins, 509 F.3d 36, 43 (1st Cir. 2007) (quoting RiveJ"c:'1-Gomez v. de Castro, 843

  F.2d 631, 635 (1st Cir. 1988)).

 III.   DISCUSSION

        The Court begins by briefly addressing the relevant case law. 1'he Court next

 examines the claims as to Fannie Mae and Freddie Mac. Finally, the Court turns its

 analysis to FHFA as the conservator of the GSEs.

        A.     The relevant case law

        The Court holds that the Plaintiffs can prove that the GSEs and FHFA·as-

 conservator are government actors, and thus, can prove that the Defendants denied

 Plaintiffs due process by conducting non-judicial foreclosures. This Court is aware

 that this holding is contrary to every other court to reach the issue. Numerous district

 courts, as well as the Sixth and D.C. Circuits, have concluded that the Defendants

 are not government actors for purposes of constitutional claims-a fact the

 Defendants emphasized throughout their briefing and at oral argument (as well they

 should have). See, e.g:, Defs.' Reply at 29-33 (listing decisions of other courts).

        Nevertheless, none of those cases is binding on this Court; they are only

 available to the Court for any persuasive value they may have. This Court, however,

 is duty-bound to conduct an independent inquiry of the matter before it, bound by the

 law that controls it. See D'Arezzo v. Providence Ctr., Inc., 142 F. Supp. 3d 224, 228-

 29 (D.R.I. 2015). In so doing, the Court is not persuaded by the reasoning of prior


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  cases~cliscussecl   more below-and instead concludes that the Defendants can be

  found to be government actors.

        B.    The Plaintiffs can prove that Fannie Mae and Freddie Mac are
              government actors fo1· purposes of constitutional claims.

        The starting point for the Court's analysis is LebTon v. National RailToad

  Passenger ColJJ., 513 U.S. 374 (1995). In Lebron, the United States Supreme Court

  announced that, where "the Government [1] creates a corporation by special law, [2]

 for the furtherance of governmental objectives, and [3] retains for itself permanent

 authority to appoint a majority of the directors of that corporation," then the

 corporation is "part of the Government" for constitutional claims. I d. at 400.

        Lebron involved a challenge to Amtrak's refusal to display a billboard; the

 plaintiff argued that Amtrak was a government entity, and therefore, that it violated

 the First and Fifth Amendments in rejecting the advertisement. Id. at 377. Amtrak,

 however, argued that Congress had explicitly declared it to not be a government

 entity, and that that language controlled. Id. at 392. The Court rejected Amtrak's

 arguments, holding that "[i]t is not for Congress to make the final determination of

 Amtrak's status as a Government entity for purposes of determining the

 constitutional rights of citizens affected by its actions." Id. To allow Congress to

 determine whether the Constitution applied to a government·createcl entity would

 allow the government "to evade the most solemn obligations imposed in the

 Constitution by simply resorting to the corporate form."      I d. at 397.   The Court

 explained, "[o]n that thesis, Plessy v. Fe1·guson, 163 U.S. 537 (1896), can be

 resurrected by the simple device of having the State of Louisiana operate segregated



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  trains through a state·owned Amtrak." Leb1·on, 513 U.S. at 397; see also id. at 392-

  93 ("The Constitution constrains governmental action 'by whatever instruments or in

 whatever modes that action may be taken.' And under whatever congressional label."

  (quoting Ex parte Virginia, 100 U.S. 339, 346-47 (1880))).

        Turning its analysis to whether Amtrak was in fact a government actor, the

  Lebron Court noted that "Amtrak is not merely in the temporary control of the

 Government (as a private corporation whose stock comes into federal ownership

 might be); it is established and organized under federal law for the very purpose of

 pursuing federal governmental objectives, under the direction and control of federal

 governmental appointees." Id at 398. The Court then noted that, despite a history

 of treating the government as any other shareholder when it acquires interest in a

 corporation, see id. at 398-99, this treatment did not necessarily follow where "the

 State has specifically created that corporation for the furtherance of governmental

 objectives, and not merely holds some shares but controls the operation of tl1e

 corporation through its appointees." Lebron, 513 U.S. at 399 (emphasis added).

        The LebTon Court next recounted its decision in the Regional Rml

 Reorganization Act Cases, 419 U.S. 102 (1974), where the Court distinguished

 Amtrak from Conrail, noting that the latter was not a federal instrumentality. 513

 U.S. at 399. It reached this conclusion despite the government having the power to

 appoint the majority of Conrail's directors because it had a provision automatically

 terminating government control: "[f]ull voting control" would revert to Conrail

 shareholders if federal obligations fell below fifty percent of the railroad's




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  indebtedness. Id. (alteration in original) (quoting Reg'/ Rail, 419 U.S. at 152); see

  also id. (also relying on the fact that Conrail's directors were required to operate the

  entity for private purposes).

        Twenty years later, the Supreme Court decided Department ofTi·a11sportation

  v. Associatio11 of American Raj}roads, 135 S. Ct. 1225 (2015), in which the Court

 reaffirmed Lebron and held that Amtrak, as a government entity, could

 constitutionally be granted regulatory power under the Passenger Rail Investment

 and Improvement Act of 2008. Id. at 1229-30, 1233. In so holding, the Court rejected

 Congress's pronouncement that Amtrak was a private company, and thus, exempt

 from constitutional obligations. Id. at 1231. The Court reiterated that, "[t]o hold

 otherwise would allow the Government 'to evade the most solemn obligations imposed

 in the Constitution by simply resorting to the corporate form."' Id. at 1233 (quoting

 Lcbl'on, 513 U.S. at 397); see also Yeo v. Town ofLexington, 131 F.3d 241, 253 (1st

 Cir. 1997) (en bane) (citing Lebron and noting that a "statute cannot be determinative

 of the outcome of the federal constitutional question").          The Supremo Court

 emphasized that, "Lebron teaches that, for purposes of [an entity's] status as a federal

 actor or instrumentality under the Constitution, the practical reality of federal

 control and supervision prevails over Congress' disclaimer of [the entity's]

 governmental status." Ass]J of Am. R.Rs., 135 S. Ct. at 1233; see also Barrios-

  Velc1zquez v. Asociaci6n de Empleades del Estado Libl'e Asociado de P.R., 84 F. 3d 48 7,

 492 (1st Cir. 1996) ("The Supreme Court in LebTon focused on the degree of control

 that the federal government had over Amtrak").




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         Both Plaintiffs and Defendants agree that Lebron's three·part test controls

  \vhether Fannie 1VIae and Freddie :rviac are government entities. The parties do not

  dispute that the first two prongs are satisfied, and the Court accepts at this stage of

  the litigation the Plaintiffs' factual allegation that FHFA currently has authority to

  appoint a majority of the Fannie Mae and Freddie Mac boards. The only disputed

  issue is whether the govenunent has retained "permanent authority" to make these

  appointments. Lebron, 513 U.S. at 400.

        Plaintiffs argue that HERA gave FHFA complete and total control over Fannie

  Mae and Freddie :Mac, and that this authority will continue uninterrupted until the

  government decides to end conservatorship (if, indeed, it ever does), rendering

  government control effectively permanent. The Defendants, however, argue that

  HERA gives FHFA indefz1n'te, but not permanent, control over the GSEs, and that

  Lebron implies that any form of government control short of a statutory grant of

  power is merely temporary.

        The no1rcontrolling precedent to date, alluded to above in section III.A, has

  followed the Defendants' line of argument. See, e.g:, Herron v. Fannie l.fae (Hm'l'on

  I]), 8Gl F.3d lGO, 1G9 (D.C. Cir. 2017); llhk v. Fi·eddie Jlfac, 743 F.3d 149, 168 (Gth

  Cir. 2014); Haney v. Fannie llfae, No. 1G·cv·0129G, 2017   vn. 1404103, at *5 (D. Colo.
  Iviar. 9, 2017); see also Defs.' Reply at 29-33 (listing decisions of other courts).

  Numerous though the decisions may be, all of the opinions share a similar logic-----one

  that does not persuade this Court.




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         Nearly every case cited by Defendants relies on Herron v. Fannie 111ae (HeTron

  }), 857 F. Supp. 2d 87 (D.D.C. 2012). 5 In finding that government control was not

  "permanent," that court relied principally on the statutory purpose for the

  conservatorship: "reorganizing, rehabilitating, or winding up" the affairs of the GSEs.

  Id. at 95 (citing 12 U.S.C. § 4617(a)(2)). The Hen·on I court concluded based on this

  statutory purpose that "the enabling statute expressly allows FHFA temporary but

  complete control over Fannie Mae, not permanent control." Id In affirming, the D.C.

  Circuit agreed, noting that the statutory language served "an inherently temporary

  purpose." Herron II, 861 F.3d at 169 (quoting Rubin v. R'wnie Mae, 587 F. App'x 273,

  275 (6th Cir. 2014)). The Defendants urge this Court to follow a similar line of

  reasomng.

         But the Court cannot defer to a congressional declaration that serves to

  disclaim the constitutional obligations of a government-created entity. See Ass'n of

  Am. R.Rs., 135 S. Ct. at 1233; Lebron, 513 U.S. at 392; Yeo, 131 F.3cl at 253. To be

  sure, § 4617(a)(2) does not explicitly disclaim the GSEs' status as federal entities as

  Amtrak's charter does. See Lebron, 513 U.S. at 391. But its language still has the

  same effect-under Lebron, "permanent" government control is required, and here




         5 All but two cases cited by Defendants rely explicitly on Herron I or cite cases
  that rely on HelTon l The two cases that do not cite Herron I at all have other
  analytical flaws. See Fannie 111ae v. Lema1i·e, No. 12-11479, 2012 WL 12930829, at
  *2 (E.D. Mich. Dec. 20, 2012) (conclusory statement that, under Lebron, Fannie Mae
  is "not a government actor for constitutional purposes"); Ljekocevic v. CitDVfortgage,
  No. 11-14403, 2012 \'VL 5379571, at *4 (E.D. Mich. Sept. 25, 2012) (relying on two
  pre-conservatorship cases to hold that post-conservatorship Freddie Mac is not a
  government actor for constitutional purposes).

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  Congress is disclaiming permanent control. Id. at 400. If the Court were to accept

  this at face value, it would be dispositive of Lebron's permanency requirement and

  would give the government authority to "evade the most solemn obligations imposed

  in the Constitution" by taking control of corporations through "temporary"

  conservatorships. Id. at 397; see also Ass11 ofAm. R.Rs., 135 S. Ct. at 1234 (Ali to, J .,

  concurring) (warning of the danger of government action veiled as private action and

  cautioning that "a vital constitutional principle must not be forgotten: Liberty

  requires accountability"). For these reasons, the Supreme Court has held that "for

  purposes of [an entity's] status as a federal actor or instrumentality under the

  Constitution, the practical reali~y of fedel'al control and supervision prevails over

  Congress' disclaimer of [the entity's] governmental status." Ass11 ofAm. R.Rs., 135

  S. Ct. at 1233 (emphasis added). 6

        The practical reality here is that the government effectively controls Fannie

  1VIae and Freddie IVIac permanently. The government appoints all of the members of

  the GSEs' boards of directors and controls every operational aspect of the entities. It

  owns all of the GSEs' senior preferred stock and owns warrants to purchase 79.9% of

  their common stock. The government does not allow the GSEs to pay dividends to

  shareholders; rather, they must be paid directly into the U.S. Treasury. Indeed, to



        6 Plaintiffs argue that Association ofAmen·can Raj}roads dispensed with the
  permanency requirement set forth in Lebron. The Court disagrees. Courts generally
  do not overturn precedent by implication. HelTon II, 861 F.3cl at 168. Rather, this
  Court reads Association of Amel'ican Railroads as requiring courts to examine the
  "practical reality of federal control and supervision" in applying the Lebron test,
  including in determining whether government control is permanent. 135 S. Ct. at
  1233.


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  date the GSEs have paid more into the Treasury than they received in the 2008

  bailout.

         But perhaps most important is the unchecked control the government has over

  the duration of its total takeover of the GSEs.       Absent an act of Congress, the

  conservatorship will only end in one of two ways: the director of FHFA can decide to

  end the conservatorship, or it can appoint FHFA receiver, whereupon FHFA will

  retain control of the GSEs as receiver.         Either way, the decision to end the

  conservatorship is left entirely to the discretion of the government. This is "worlds

  apart" from other scenarios in which the Supreme Court has found or suggested

  government control is only temporary. See Reg'l Rail, 419 U.S. at 152 (provision

  automatically terminating government control); Lebron, 513 U.S. at 398 (government

  ownership of private corporation's stock where corporation not organized under

  federal la\V for public purpose). 7 rl'he practical reality, then, is that the government

  can control Fannie !viae and Freddie :rviac in perpetuity, even though Congress

  authorized a facially temporary conservatorship.       This renders the government's




        7 Defendants and other courts often cite dicta from Lebron for the proposition
  that "a private corporation whose stock comes into federal ownership" is only in the
  temporary control of the government. 513 U.S. at 398; see, e.g:, Hen·on II, 861 F. 3d
  at 169; Merjdz[w h1vs., h1c. v. Fi·eddie llfc'lc, 855 F.3d 573, 579 (4th Cir. 2017). The
  language, in full, reads: "Amtrak is not merely in the temporary control of the
  Government (as a private corporation whose stock comes into federal ownership
  might be); it is established and organized under federal law for the very purpose of
  pursuing federal governmental objectives, under the direction and control of federal
  governmental appointees." Lebl'on, 513 U.S. at 398. In context, then, a corporation
  whose stock comes into federal ownership, established and organized under federal
  law for a public purpose, under the federal direction and control, might be under
  permanent government controL That was the case in Lebron, and is the case hero.


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  control effectively permanent, and requires Fannie Mae and Freddie Mac to be held

  to "the most solemn obligations imposed in the Constitution." Lebron, 513 U.S. at

  397.

         In light of the foregoing, and accepting the Plaintiffs' allegations as true at this

  stage, it is not "beyond doubt" that Plaintiffs cannot prove their claims against Fannie

  Mae and Freddie T\1ac. See Curran, 509 F.3d at 43. Thus, those Defendants are not

  entitled to juclg·ment on the pleadings.

         C.    The Plaintiffs can prove that FHFA·as·conservator is a government
               actor for purposes of constitutional claims.

         Defendants urge the Court to conclude that FHFA, as conservator of tho GSEs,

  is a private entity for constittltional claims. They rely on language in HERA that

  states FHFA "shall, as conservator or receiver, and by operation of law, immediately

  succeed to all rights, titles, powers, and privileges of the regulated entity, and of any

  stockholder, officer, or director of such regulated entity with respect to the regulated

  entity and the assets of the regulated entity." 12 U.S.C. § 4617(b)(2)(A)(i). This

  language, they argue, was modeled on the Financial Institutions Reform, Recovery,

  and Enforcement Act ("FIRREA''), which granted similar powers to the Federal

  Deposit Insurance      Corporation    ("FDIC").      Compare icl,      with   12   U.S.C.

  § 1821(cl)(2)(A)(i). And, the Defendants point out, the Supreme Court has construed

  this language as "inclicat[ing] that the FDIC as receiver 'steps into the shoes' of the

  failed [savings and loan]," as a private entity for state law tort claims. O~vfelveny &

  J1!fyers v. FDIC, 512 U.S. 79, 86 (1994) (quoting Coit hl(/ep. Joint Venture v. Fed. Sav.

  & Loan h1s. Col]J., 489 U.S. 561, 585 (1989)).



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         Plaintiffs, on the other hand, contend that 0111Ielveny has a more limited reach

  than Defendants suggest, and that this Court's analysis should be guided by FDIC v.

  A£eye1; 510 U.S. 471 (1994). In A1eyer, the Supreme Court addressed whether the

  statutory sue·ancl·be·sued clause of the Federal Savings and Loan Insurance

  Corporation ("FSLIC"), the statutory predecessor for the FDIC, waived its sovereign

  immunity for the purposes of constitutional claims for actions taken as a receiver. I d.

  at 481-83. The .lvfeyer Court concluded that the clause had indeed waived FSLIC's

  sovereign immunity, and thus, that it was a government entity. Id. at 483; see also

  id. at 486 (rejecting Bivens claim against FSLIC because "a damages remedy against

  federal agencies would be inappropriate"). The Plaintiffs here argue that, because

  the FDIC contains the same sue·ancl·be·sued clause, A1eyer means that the FDIC is

  a government actor when acting as a receiver for constitutional claims, as only

  government entities can have (and thus waive) sovereign immunity, narrowing the

  breadth the Defendants give O'.AI[elven_Jls "steps into the shoes" holding.

        There is merit to Plaintiffs' argument. Jl!Jeyerclirectly addressed constitutional

  claims; O'A1elveny did not. And the A£eye1' holding makes little sense if O'il;Jelveny

  controls when the federal agency is defending a suit alleging constitutional claims.

  Accordingly, this Court does not read O'Jl!Ielvenyas requiring the Court to hold FHFA

  is a private actor for constitutional claims.

        Applying the logic of Meyer to this case reveals that FHFA has waived

  sovereign immunity, and thus, can be considered a government actor. As the D.C.

  Circuit recently explained:




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         Assuming the FHFA has sovereign immunity when it acts on behalf of
         the Companies as conservator, the CongTess has waived the agency's
         immunity by consenting to suit. The Congress has granted Freddie .Mac
         "power ... to sue and be sued ... in any State, Federal, or other court,"
         12 U.S.C. § 1452(c)(7), and has granted Fannie Mae the same "power ...
         to sue and to be sued ... in any court of competent jurisdiction, State or
         Federal," id. § 1723a(a). The FHFA "by operation of law []immediately
         succeed[ed] to ... all ... powers" of the Companies upon its appointment
         as conservator-including the Companies' power to sue and be sued-
         under the so-called Succession Clause of the Recovery Act. Id.
         § 4617(b)(2)(A)(i). Such a statutory grant of power to "sue and be sued"
         constitutes an "unequivocally expressed" waiver of sovereign immunity.

  PenT Capital LLC v. llfnuchin, 864 F.3cl 591, 622 (D.C. Cir. 2017) (alterations in

  original) (citations omitted).   Because only federal entities can waive sovereign

  immunity, it logically follows that FHFA·as·conservator is a government actor. 8

         Furthermore, even if this Court accepted the Defendants' premise that

  Ollfelveny controlled the Court's analysis, it would still reach the same conclusion.

  The Oilfelveny Court held that FDIC, when acting as a receiver for a private entity,

  steps into the shoes of that private entity for state law claims. This holding makes

  sense given the purpose of receivership: "to preserve a company's assets, for the

  benefit of creditors, in the face of bankruptcy." Brian Taylor Goldman, 17Je Indefinite


        8  Courts in other contexts have found FHFA to be a government actor, even
  when acting as conservator. See h1re Count1ywide Fin. Corp., 900 F. Supp. 2d 1055,
  1066 (C.D. Cal. 2012) (in construing ambiguous statute of limitations, holding that
  "FHFA is a federal agency even when acting as conservator or receiver"); FHFA v.
  Royal Bank of Scot. Grp. PLC, No. 3:11-cv-01383, 2012 WL 3580522, at *4 (D. Conn.
  Aug. 17, 2012) (holding that, even if FHFA steps into the shoes of a private plaintiff,
  it did not convert FHFA's suit into a "private action" under the Private Securities
  Litigation Reform Act); J\Tevada ex rei. Hager v. Count1ywjde Home Loans Serv., LP,
  No. 3:10·cv·419, 2011 'WL 484298, at *3 (D. Nev. Feb. 4, 2011) ("[TJhe Court finds that
  FHFA, as conservator for Fannie rvlae and as an intervenor in this case, is a federal
  agency with the right to remove."); see also Royal Bank, 2012 vVL 3580522, at *4
  (collecting cases and noting that "courts have treated federal agencies acting in their
  capacities as receivers or conservators differently from private litigants").

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  Conservatorship ofFannie A!Iae and Freddie Jlliac is State-Action, 17 J. Bus. & Sec. L.

  11, 23 (2016).    When FDIC is appointed receiver, it must dispose of the received

  entity's assets, resolving obligations and claims made against the entity. ld. at 24;

  see also 12 U.S.C. § 1821(d)(2)(E) (allowing FDIC·as·receiver to liquidate insured

  deposit institutions); 12 U.S.C. § 4617(b)(2)(E) (allowing FHFA·as·receiver to place

  GSEs in liquidation and sell assets). Notably, "[i]n receivership, the receiver owes

  fiduciary duties to the creditors, which the corporation would otherwise owe to

  creditors during a period of insolvency." Goldman, supra, at 24; see Golden Pac.

  Banco11J v. FDIC, 375 F.3cl 196, 201 (2d Cir. 2004) ("It is undisputed that, as a

  receiver, the FDIC owes a fiduciary duty to the Bank's creditors .... "). It logically

  follows, then, that the receiver steps into the shoes of the private entity, because it

  assumes the fiduciary duties of that entity. See 0111elvenv, 512 U.S. at 86; Goldman,

  supra, at 24.

         Conservatorship, in contrast, serves a different function. FHFA has described

  the purpose of conservatorship is "to establish control and oversight of a company to

  put it in a sound and solvent condition." Goldman, supra, at 25; accord 12 U.S.C.

  § 1821(d)(2)(D) (conservator may take action to put entity in "a sound and solvent

  condition," as well as carry on entity's business and conserve assets); 12 U.S.C.

  § 4617(b)(2)(D) (same). Conservators, unlike receivers, have a fiduciary duty running

  to the corporation itself.!.l Goldman, supl'c'?, at 26.



         9As Plaintiffs allege, the federal government controls all of the GSEs' senior
  preferred stock and holds warrants to purchase up to 79.9% of the common stock.
  This suffices to make the government a "dominant shareholder" with a fiduciary duty

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         This is "critically distinct" from the fiduciary duties owed as a receiver-the

  receiver does indeed "step into the shoes" of the entity by assuming the fiduciary

  duties ofthe entity, but the conservator does not: it remains distinct, and rather owes

  a duty to the entity. Id. Given the difference in fiduciary duties, O'Melvenys "steps

  into the shoes" holding makes sense in the context of receivership, but not in the

  context of conservatorship .

        To be sure, both HERA and FIRREAprovide for FHFA and FDIC, respectively,

  to have the powers of conservatorship and receivership.l 0             See 12 U.S.C.

  § 4617(b)(2)(A)~(E); 12 U.S.C. § 1821(d)(2)(A)-(E). But they are different powers, and

  no one disputes in this case that FHFA is indeed conservator, not receiver, of the

  GSEs. See also Peny Capital LLC v. Lew, 70 F. Supp. 3d 208, 227-28 (D.D.C. 2014)

  (recognizing difference between FHFA conservatorship and receivership of GSEs and

  holding that FHFA is not acting as a receiver). Accordingly, then, if 01l!felveny



  running to tile co1poration-a far cry from a receiver who steps into the fiduciary
  duties of a failing enterprise. Goldman, supra, at 26.

        10 Some of HERA's and FIRREA's provisions address conservatorship and
  receivership separately, 12 U.S.C. § 4617(b)(2)(D)-(E); 12 U.S.C § 1821(cl)(2)(D)-(E),
  while others address both conservatorship and receivership powers in the same
  provision, 12 U.S.C. § 4617(b)(2)(A)-(C); 12 U.S.C § 1821(d)(2)(A)-(C). The language
  in dispute here comes from the latter category, where the statutes state that the
  federal entities "shall, as conservator, or receiver ... succeed to all rights, titles,
  powers, and privileges" of the private entity. 12 U.S.C. § 4617(b)(2)(A); 12 U.S.C
  § 1821(d)(2)(A). But just because both conservatorship and receivership are, at times,
  addressed in the same section does not mean that the language must be construed
  the same in both contexts. This is particularly so given that other provisions give
  different powers depending· on whether the federal entity is exercising
  conservatorship or receivership powers; that the fiduciary duties are different, as
  discussed above; and the fact that the statutes use the disjunctive "or" and not the
  conjunctive "and" when addressing the different powers in the same provision.


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  controlled, this Court could not say as a matter of law that FHFA-as-conservator

  "steps into the shoes" of the private entity as FDIC-as-receiver did.

        In light of the foregoing, the Court cannot conclude at this stage that FHFA is

  a private actor for constitutional claims while acting as conservator. Because it is not

  "beyond doubt" that Plaintiffs cannot prove their claims against the agency, see

  Curran, 509 F.3d at 43, FHFA is not entitled to judgment on the pleadings.

  IV.   CONCLUSION

        For the foregoing reasons, the Court DENIES the Defendants' motions for

  judgment on the pleadings.




  John J. McConnell, Jr.
  United States District Judge

  August 2, 2018




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